          Case 22-10054-mkn         Doc 15      Entered 04/15/22 18:10:03   Page 1 of 1

NVB 3022 (Rev. 2/16)


                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEVADA


 IN RE:                                                  BK−22−10054−mkn
                                                         CHAPTER 7
 NATHAN HENRY CARPENTER


                                   Debtor(s)             FINAL DECREE




The estate of the debtor(s) having been fully administered,

IT IS ORDERED that TROY S. FOX is discharged as trustee of the estate.

This Chapter 7 case is closed.




Dated: 4/15/22


                                                     Mary A. Schott
                                                     Clerk of Court
